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Fill in this information to identify your case:

United States Bankruptcy Court for the:

CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)                                                        Chapter you are filing under:
                                                                               Chapter 7
                                                                               Chapter 11
                                                                               Chapter 12
                                                                               Chapter 13                                    Check if this is an
                                                                                                                                  amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                     12/22
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Juan
     your government-issued        First name                                                      First name
     picture identification (for
     example, your driver's        Manuel
     license or passport).         Middle name                                                     Middle name
     Bring your picture
     identification to your
                                   Bernal
     meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                        Last name and Suffix (Sr., Jr., II, III)



2.   All other names you have
     used in the last 8 years
     Include your married or
     maiden names and any
     assumed, trade names and
     doing business as names. FDBA Bernal Capital Group
     Do NOT list the name of
     any separate legal entity
     such as a corporation,
     partnership, or LLC that is
     not filing this petition.


3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-1709
     Individual Taxpayer
     Identification number
     (ITIN)




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Debtor 1   Juan Manuel Bernal                                                                        Case number (if known)



                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

     Your Employer
4.
     Identification Number
     (EIN), if any.
                                 EIN                                                           EIN



5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 31391 Camino Sancho
                                 San Juan Capistrano, CA 92675
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Orange
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                       Over the last 180 days before filing this petition,           Over the last 180 days before filing this petition, I
                                       I have lived in this district longer than in any               have lived in this district longer than in any other
                                       other district.                                                district.

                                      I have another reason.                                        I have another reason.
                                       Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




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Debtor 1    Juan Manuel Bernal                                                                           Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                              Chapter 7
                                    Chapter 11
                                  Chapter 12
                                  Chapter 13


8.   How you will pay the fee          I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                        about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                        order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                        a pre-printed address.
                                       I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                        The Filing Fee in Installments (Official Form 103A).
                                       I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                        but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                        applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                        the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for
     bankruptcy within the
                                  No.
     last 8 years?                Yes.
                                             District                                  When                            Case number
                                             District                                  When                            Case number
                                             District                                  When                            Case number



10. Are any bankruptcy
    cases pending or being
                                  No
    filed by a spouse who is      Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                             Debtor                                                                   Relationship to you
                                             District                                  When                           Case number, if known
                                             Debtor                                                                   Relationship to you
                                             District                                  When                           Case number, if known



11. Do you rent your              No.        Go to line 12.
    residence?
                                  Yes.       Has your landlord obtained an eviction judgment against you?

                                                       No. Go to line 12.

                                                       Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
                                                        this bankruptcy petition.




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Debtor 1    Juan Manuel Bernal                                                                             Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time       No.       Go to Part 4.
    business?

                                    Yes.      Name and location of business

     A sole proprietorship is a
     business you operate as                   Sunbelt Realty Services
     an individual, and is not a               Name of business, if any
     separate legal entity such
     as a corporation,
     partnership, or LLC.
                                               31391 Camino Sancho
     If you have more than one                 San Juan Capistrano, CA 92675
     sole proprietorship, use a
     separate sheet and attach                 Number, Street, City, State & ZIP Code
     it to this petition.                      Check the appropriate box to describe your business:
                                                      Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                      Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                      Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                      Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                                      None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor choosing to
    Chapter 11 of the              proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you are a small business debtor or
    Bankruptcy Code, and           you are choosing to proceed under Subchapter V, you must attach your most recent balance sheet, statement of operations,
    are you a small business       cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure in 11 U.S.C.
    debtor or a debtor as          § 1116(1)(B).
    defined by 11 U.S. C. §         No.          I am not filing under Chapter 11.
    1182(1)?
    For a definition of small       No.       I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
    business debtor, see 11                    Code.
    U.S.C. § 101(51D).

                                    Yes.      I am filing under Chapter 11, I am a small business debtor according to the definition in the Bankruptcy Code, and
                                               I do not choose to proceed under Subchapter V of Chapter 11.

                                    Yes.      I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the Bankruptcy Code, and I
                                               choose to proceed under Subchapter V of Chapter 11.

Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any
    property that poses or is
                                    No.
    alleged to pose a threat        Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                            Number, Street, City, State & Zip Code




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Debtor 1    Juan Manuel Bernal                                                                         Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling
                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a               I received a briefing from an approved credit                I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check        I received a briefing from an approved credit                I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your               I certify that I asked for credit counseling                 I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                        I am not required to receive a briefing about              I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                              Incapacity.                                              Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                              Disability.                                              Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                              Active duty.                                             Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




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Debtor 1   Juan Manuel Bernal                                                                             Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ Robert P. Goe                                                  Date         July 13, 2023
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Robert P. Goe 137019
                                Printed name

                                GOE FORSYTHE & HODGES LLP
                                Firm name

                                17701 Cowan
                                Building D, Suite 210
                                Irvine, CA 92614
                                Number, Street, City, State & ZIP Code

                                Contact phone     (949) 798-2460                             Email address         rgoe@goeforlaw.com
                                137019 CA
                                Bar number & State




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 Fill in this information to identify your case:

 Debtor 1                     Juan Manuel Bernal
                              First Name              Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)          First Name              Middle Name                      Last Name


 United States Bankruptcy Court for the:        CENTRAL DISTRICT OF CALIFORNIA

 Case number
 (if known)
                                                                                                                                           Check if this is an
                                                                                                                                              amended filing



B 104
For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest
Unsecured Claims Against You and Are Not Insiders                          12/15

If you are an individual filing for bankruptcy under Chapter 11, you must fill out this form. If you are filing under Chapter 7, Chapter 12, or
Chapter 13, do not fill out this form. Do not include claims by anyone who is an insider. Insiders include your relatives; any general partners;
relatives of any general partners; partnerships of which you are a general partner; corporations of which you are an officer, director, person
in control, or owner of 20 percent or more of their voting securities; and any managing agent, including one for a business you operate as a
sole proprietor. 11 U.S.C. § 101. Also, do not include claims by secured creditors unless the unsecured claim resulting from inadequate
collateral value places the creditor among the holders of the 20 largest unsecured claims.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information.

 Part 1:        List the 20 Unsecured Claims in Order from Largest to Smallest. Do Not Include Claims by Insiders.

                                                                                                                                            Unsecured claim
 1                                                          What is the nature of the claim?                  Arbitration award                $1,023,948.00
              Ginadan Venture 2, LLC
              David Taran, Esq                              As of the date you file, the claim is: Check all that apply
              12424 Wilshire Blvd, 12th Flr                        Contingent
              Los Angeles, CA 90025                                  Unliquidated

                                                                     Disputed
                                                                     None of the above apply

                                                            Does the creditor have a lien on your property?
                                                                     No
              Contact                                                Yes. Total claim (secured and unsecured)
                                                                            Value of security:                                    -
              Contact phone                                                 Unsecured claim


 2                                                          What is the nature of the claim?                  Legal fees                       $56,019.00
              Jay Stocker, Esq
              Stocker & Lancaster, LLP                      As of the date you file, the claim is: Check all that apply
              19200 Von Karman Ave, Ste 600                        Contingent
              Irvine, CA 92612-8516                                Unliquidated
                                                                   Disputed
                                                                     None of the above apply

                                                            Does the creditor have a lien on your property?
                                                                     No
              Contact                                                Yes. Total claim (secured and unsecured)


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 Debtor 1          Juan Manuel Bernal                                                      Case number (if known)

                                                                          Value of security:                                  -
            Contact phone                                                 Unsecured claim


 3                                                      What is the nature of the claim?                  Credit card                 $43,950.00
            Citibank Card
            PO Box 78045                                As of the date you file, the claim is: Check all that apply
            Phoenix, AZ 85062-8045                             Contingent
                                                               Unliquidated
                                                               Disputed
                                                               None of the above apply

                                                        Does the creditor have a lien on your property?
                                                                 No
            Contact                                              Yes. Total claim (secured and unsecured)
                                                                        Value of security:                                    -
            Contact phone                                               Unsecured claim


 4                                                      What is the nature of the claim?                  credit card                 $22,000.00
            FNB/Omaha
            PO Box 3128                                 As of the date you file, the claim is: Check all that apply
            Omaha, NE 68103                                    Contingent
                                                               Unliquidated
                                                               Disputed
                                                               None of the above apply

                                                        Does the creditor have a lien on your property?
                                                                 No
            Contact                                              Yes. Total claim (secured and unsecured)
                                                                        Value of security:                                    -
            Contact phone                                               Unsecured claim


 5                                                      What is the nature of the claim?                  Credit card                 $19,435.00
            Barclays
            PO Box 60517                                As of the date you file, the claim is: Check all that apply
            City of Industry, CA 91716-0517                    Contingent
                                                               Unliquidated
                                                               Disputed
                                                               None of the above apply

                                                        Does the creditor have a lien on your property?
                                                                 No
            Contact                                              Yes. Total claim (secured and unsecured)
                                                                        Value of security:                                    -
            Contact phone                                               Unsecured claim


 6                                                      What is the nature of the claim?                  Credit card                 $19,430.00
            Capital One
            PO Box 60519                                As of the date you file, the claim is: Check all that apply
            City of Industry, CA 91716-0519                    Contingent
                                                               Unliquidated
                                                               Disputed
                                                               None of the above apply


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 Debtor 1          Juan Manuel Bernal                                                      Case number (if known)


                                                        Does the creditor have a lien on your property?
                                                                 No
            Contact                                              Yes. Total claim (secured and unsecured)
                                                                        Value of security:                                    -
            Contact phone                                               Unsecured claim


 7                                                      What is the nature of the claim?                  Expert fees                 $9,158.00
            Michael Sanders, MAI
            Coastline Realty Advisors, Inc              As of the date you file, the claim is: Check all that apply
            3020 Old Ranch Parkway, Ste                        Contingent
            300                                                Unliquidated
            Seal Beach, CA 90740                               Disputed
                                                               None of the above apply

                                                        Does the creditor have a lien on your property?
                                                                 No
            Contact                                              Yes. Total claim (secured and unsecured)
                                                                        Value of security:                                    -
            Contact phone                                               Unsecured claim


 8                                                      What is the nature of the claim?                  Fees                        $4,000.00
            Allan D. Wallace, Esq.
            The Law Offices of Alan D.                  As of the date you file, the claim is: Check all that apply
            Wallace                                            Contingent
            14011 Ventura Blvd, Ste 406                        Unliquidated
            Sherman Oaks, CA 91423                             Disputed
                                                               None of the above apply

                                                        Does the creditor have a lien on your property?
                                                                 No
            Contact                                              Yes. Total claim (secured and unsecured)
                                                                        Value of security:                                    -
            Contact phone                                               Unsecured claim


 9                                                      What is the nature of the claim?                  credit card                 $2,704.00
            THD/CBNA
            PO Box 9001010                              As of the date you file, the claim is: Check all that apply
            Louisville, KY 40290                               Contingent
                                                               Unliquidated
                                                               Disputed
                                                               None of the above apply

                                                        Does the creditor have a lien on your property?
                                                                 No
            Contact                                              Yes. Total claim (secured and unsecured)
                                                                        Value of security:                                    -
            Contact phone                                               Unsecured claim


 Part 2:      Sign Below




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                       Juan Manuel Bernal
                       31391 Camino Sancho
                       San Juan Capistrano, CA 92675


                       Robert P. Goe
                       GOE FORSYTHE & HODGES LLP
                       17701 Cowan
                       Building D, Suite 210
                       Irvine, CA 92614


                       Allan D. Wallace, Esq.
                       The Law Offices of Alan D. Wallace
                       14011 Ventura Blvd, Ste 406
                       Sherman Oaks, CA 91423


                       Anita A Bernal
                       31391 Camino Sancho
                       San Juan Capistrano, CA 92675


                       Barclays
                       PO Box 60517
                       City of Industry, CA 91716-0517


                       Capital One
                       PO Box 60519
                       City of Industry, CA 91716-0519


                       Citibank Card
                       PO Box 78045
                       Phoenix, AZ 85062-8045


                       Employment Development Department
                       Bankruptcy Group MIC 92E
                       PO Box 826880
                       Sacramento, CA 94280-0001
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                   Equifax
                   Attn: Bankruptcy Dept.
                   P.O. Box 740241
                   Atlanta, GA 30374


                   Experian
                   Attn: Bankruptcy Dept.
                   P.O. Box 2002
                   Allen, TX 75013


                   Flagstar Servicing
                   PO Box 619063
                   Dallas, TX 75261-9063


                   FNB/Omaha
                   PO Box 3128
                   Omaha, NE 68103


                   Franchise Tax Board Bankruptcy
                   Section MS: A-30
                   P.O. Box 2952
                   Sacramento, CA 95812-2952


                   Ginadan Venture 2, LLC
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                   Carlsbad, CA 92013-1207


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